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                             Monterey Financial Services, Inc.
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                        99                       UNITED STATES DISTRICT COURT
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                                               SOUTHERN DISTRICT OF CALIFORNIA
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                       12    RICHARD M. SCHAIRED, individually              Case No.: 3:22-cv-00736-BAS-MDD
HAMRICK & EVANS, LLP




                       12
                             and on behalf of all others similarly
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                       13    situated,                                      (Case assigned to Hon. Cynthia Bashant)
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                                         Plaintiffs,
                       15          v.                                       DEFENDANT MONTEREY
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                       16                                                   FINANCIAL SERVICES, LLC’S
                       17    MONTEREY FINANCIAL SERVICES,                   NOTICE OF PARTIAL MOTION TO
                       17    INC.,                                          DISMISS
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                       19                Defendant.
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                                                                            Hearing Date:     August 29, 2022
                       20                                                   Dept.:            4B 4th Floor
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                       22                                                   PER CHAMBERS RULES, NO ORAL
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                       23                                                   ARGUMENT UNLESS ORDERED
                       24                                                   BY THE COURT
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                                DEFENDANT MONTEREY FINANCIAL SERVICES, LLC’S NOTICE OF PARTIAL MOTION TO DISMISS
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                        1    TO THE HONORABLE COURT AND TO ALL PARTIES:
                        2          PLEASE TAKE NOTICE that that on August 29, 2022, or as soon
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                             thereafter as the matter may be heard, in Courtroom 4B of the above-entitled Court,
                        4    located at 221 W. Broadway, San Diego, CA 92101, Defendant Monterey Financial
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                             Services, LLC (“Monterey”) will, and does hereby, move this Court for an Order
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                             dismissing Count II of the Complaint and striking Plaintiff Robert M. Schaired’s
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                             class allegations as impermissibly fail-safe.
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                                   This Motion is based on this Notice; the Memorandum of Points and
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                             Authorities attached hereto; all other orders, pleadings and papers on filed in this
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                             action; the Court’s file; and such additional facts and argument that will be
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                       12    presented at the hearing.
HAMRICK & EVANS, LLP




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                       13          On July 21, 2022, counsel for Plaintiff and counsel for Defendant discussed
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                       14    the substance of the instant motion and were unable to reach a resolution that
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                             eliminated the need to proceed. The above conference occurred by telephone on July
                       16    21, 2022.
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                       18 DATED: July 25, 2022                               HAMRICK & EVANS, LLP
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                       20                                            By:____/s/ Jeff W. Poole ________
                       20                                                JEFF W. POOLE
                       21                                                Attorneys for Defendant
                       21                                                Monterey Financial Services, Inc.
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                                DEFENDANT MONTEREY FINANCIAL SERVICES, LLC’S NOTICE OF PARTIAL MOTION TO DISMISS
